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      6 and Thai Union Group PCL
      7    (Additional Counsel on Signature Pages)
      8
                                   UNITED STATES DISTRICT COURT
      9
                                SOUTHERN DISTRICT OF CALIFORNIA
     10
     11
                                                     Case No. 3:15-md-02670-JLS-MDD
     12       IN RE: PACKAGED SEAFOOD
              PRODUCTS ANTITRUST                     SECOND JOINT MOTION FOR
     13       LITIGATION                             EXTENSION OF TIME FOR
                                                     FILING JOINT MOTION(S) FOR
     14                                              DETERMINATION OF
              THIS DOCUMENT RELATES TO:              DISCOVERY DISPUTE(S)
     15                                              CONCERNING WINN-DIXIE
                                                     PLAINTIFFS’ SUPPLEMENTAL
     16                                              RESPONSES AND OBJECTIONS
              DIRECT ACTION PLAINTIFF                TO DEFENDANTS’ FIRST SET
     17       TRACK                                  OF CONTENTION
                                                     INTERROGATORIES
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                                                     Magistrate Judge: Hon. Mitchell D.
     19                                              Dembin
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      1                   Defendants Bumble Bee Foods, LLC, StarKist Co., Dongwon
      2 Industries Co., Ltd., Del Monte Corporation, Tri-Union Seafoods LLC d/b/a
      3 Chicken of the Sea International, and Thai Union Group PCL (“Defendants”), and
      4 Winn-Dixie Stores, Inc. and Bi-Lo Holdings, LLC (“Plaintiffs”) (together, “the
      5 Parties”), by and through their respective counsel, hereby jointly move for an order
      6 approving the following stipulation.
      7                                        STIPULATION
      8                   WHEREAS, on October 26, 2018, Plaintiffs were served with
      9 Defendants’ First Set of Contention Interrogatories to Direct Action Plaintiffs (“the
     10 Contention Interrogatories”);
     11                   WHEREAS, on December 10, 2018, counsel for Plaintiffs served
     12 Defendants with objections and responses to the Contention Interrogatories;
     13                   WHEREAS, on May 1, 2019, counsel for Plaintiffs served Defendants
     14 with supplemental responses to the Contention Interrogatories (“the Supplemental
     15 Responses”);
     16                   WHEREAS, Defendants raised certain concerns with the
     17 Supplemental Responses and the Parties met and conferred about them on May 29,
     18 2019;
     19                   WHEREAS, the May 29 meet and confer brought the Parties close to
     20 an agreement whereby Plaintiffs would submit additional supplemental responses
     21 which are, based on the meet and confer, expected to narrow or eliminate the
     22 remaining disagreements;
     23                   WHEREAS, because any such agreement to submit additional
     24 responses would nonetheless be finalized after this Court’s then-existing deadline
     25 to file joint motions for the determination of discovery disputes under its “30-Day
     26 Rule,” the Parties requested, and the Court granted, an extension until June 21,
     27 2019 to file any joint motions for the determination of discovery disputes, see Dkt.
     28 1913;
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      1                   WHEREAS, the Parties have corresponded about Plaintiffs’ additional
      2 responses since the Court issued its Order granting the extension;
      3                   WHEREAS, Plaintiffs have represented that they will serve additional
      4 responses to address the issues that Defendants raised with respect to the
      5 Supplemental Responses, but that the Plaintiffs will be unable to submit these
      6 responses by June 21, 2019;
      7                   WHEREAS, since the additional responses will be received after the
      8 existing deadlines to file joint motions for the determination of discovery disputes,
      9 the Parties seek a second extension of those deadlines to preserve their rights to file
     10 joint motions, out of an abundance of caution;
     11                   NOW, THEREFORE, IT IS HEREBY STIPULATED AND
     12 AGREED, by and between the undersigned counsel:
     13                   If the Parties are unable to resolve their disputes concerning the
     14 Supplemental Responses, the Parties shall file any joint motion(s) for
     15 determination of discovery dispute(s) by July 12, 2019.
     16
     17 Dated: June 20, 2019                        Respectfully submitted,
     18                                             ALLEN & OVERY LLP
     19                                             By: s/ John Roberti
     20                                             John Roberti
                                                    Kelse Moen
     21                                             Jana Steenholdt
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      1                                        Dongwon Industries Co., Ltd
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      1
      2                                        ECF CERTIFICATION
      3           I, John Roberti, hereby certify that the content of the foregoing document is
      4 acceptable to all parties who are required to sign it. Each party’s counsel has
      5 authorized John Roberti to affix his or her CM/ECF electronic signature to this
      6 document.
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      1                                  CERTIFICATE OF SERVICE
      2                   I certify that on June 20, 2019, I filed the foregoing document with the
      3 Clerk of the Court for the United States District Court, Southern District of
      4 California, by using the Court’s CM/ECF system, and also served counsel of
      5 record via this Court’s CM/ECF system.
      6
      7                                                   /s/ John Roberti
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                                                          John Roberti (pro hac vice)
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     13                                                   Seafoods LLC d/b/a Chicken of the
                                                          Sea International and Thai Union
     14                                                   Group PCL
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